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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA            )
                                    )
             V.                     )     CRIMINAL NO. 10-10030-RGS
                                    )
ANTHONY BICKERTON,                  )
                                    )
                  Defendant.        )



                   GOVERNMENT’S SENTENCING SUBMISSION

        The United States of America, by and through undersigned

counsel, hereby submits this sentencing memorandum with respect

to defendant Anthony Bickerton (“Bickerton”).

I.      PROCEDURAL HISTORY

        Defendant Bickerton is a former Stoughton, MA police

detective who has pled guilty to a two count Information charging

him with violating 18 U.S.C. §1001 (making false statements and

representations to FBI) and 18 U.S.C. §1503 (obstruction of

justice). The U.S. Probation Department’s Presentence report

(“PSR”)has calculated the Guideline sentencing range to be 10 to

16 months' incarceration. Sentencing is scheduled for May 11,

2010.

        In 2008, a cooperating witness (“CW”) approached the FBI

and described a criminal relationship that he had had with

detective Bickerton that spanned more than 10 years.            CW had an

extensive criminal record as a thief and drug offender and

regularly worked for Bickerton as an informant.           CW stated that
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he had previously provided stolen merchandise to Bickerton and,

because of his corrupt relationship with Bickerton, CW gained

access to law enforcement sensitive information. Accordingly, the

FBI began to probe these allegations.

       During the course of the FBI's investigation, Bickerton

orchestrated the sale of several "stolen" televisions that he

received from the CW (through the FBI).            Additionally, Bickerton

accepted building materials, such as a pressure washer, from the

CW and arranged for the CW to deliver retail store gift cards to

numerous individuals. Additionally, Bickerton asked fellow

Stoughton police officer Arlindo Romeiro to hide evidence

(pressure washer received from CW) at Romeiro's house when

Bickerton became concerned with the FBI's investigation.1

II.        DEFENDANT'S FACTUAL OBJECTIONS ARE ERRONEOUS

       Defendant has made several objections which lack merit and

should be rejected.         For instance, he objects to “the CW’s

allegation that he ran information through RMV databases for the

CW”.       However, these are not mere allegations by an admittedly

dishonest and unreliable CW - this information is based on tape

recordings of Bickerton himself.            As set forth in paragraph 18




       1
       Ultimately, Officer Romeiro resigned and cooperated with
the FBI; he also pled guilty to a federal crime (18 U.S.C. §1001)
for, inter alia, failing to truthfully disclose his knowledge of
Bickerton’s corrupt activities.

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of the PSR:

     On or about August 27, 2008, BICKERTON met CW at the SPD
     station. In an audio and video recorded conversation at the
     SPD station, BICKERTON explained to CW that he ran the
     license plates CW provided through the RMV database, but
     “only one of the five came back.” BICKERTON wrote down the
     name, date of birth and address associated with one of the
     license plates and gave the slip of paper to CW at the SPD
     station.

As noted, this meeting (at the Stoughton Police Department) was

video taped by the CW - two photos of Bickerton sitting at his

police desk are attached hereto as Exhibit A. Moreover, the FBI

still has the original slip of paper provided by Bickerton to the

CW with the name, date of birth and address of the unsuspecting

motorist (a redacted copy is attached hereto as Exhibit B) and

the FBI conducted a surveillance of the meeting (see surveillance

302 attached hereto as Exhibit C). Finally, as set forth in FBI

S/A David Bell's original complaint affidavit attached hereto as

Exhibit D:

     Subsequently, at the request of the FBI, the administrators
     of the state RMV database conducted an audit of their system
     to determine if the Massachusetts vehicle registrations
     provided to BICKERTON by CW were queried by the Stoughton
     Police Department. In fact, the results of the audit
     established that four Massachusetts vehicle registrations
     previously provided to BICKERTON by CW (from the FBI) were
     queried at an RMV terminal located in the SPD station on
     August 26, 2008.

Thus, it is preposterous for Bickerton to contest that he

provided confidential RMV information to the CW at the Stoughton

Police Department.



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       Additionally, Bickerton objects to "the information from CW

alleging that Bickerton arranged for Lino Azul, an unindicted co-

conspirator, to purchase retail store gift cards from the CW."

However, the government is not relying on the CW for this

information2 - it comes directly from Bickerton's former

Stoughton police colleague - Lino Azul (who has also resigned

from the Stoughton police department).            A sealed Exhibit E will

be filed separately with this submission which consists of an

excerpt of former officer Lino Azul's sworn testimony about this

matter.        Former Stoughton police officer Azul has clearly

advised the FBI that he obtained these "stolen" gift cards from

the CW because he learned of their availability from defendant

Bickerton.       Moreover, Azul has made it clear that Bickerton was

providing RMV information to the CW and that Bickerton wanted

Azul to lie to the FBI if he, Azul, was ever questioned about

these matters.

III.       CONCLUSION

       The United States respectfully requests that the Court

sentence defendant Anthony Bickerton to a sentence of 15 months'




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       As noted, the government views the CW as dishonest and
unreliable; he is also likely to be charged in this case because
he converted some of the gift cards to his own use during the
course of the FBI's investigation.

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incarceration, a $5000 fine, and a $200 special assessment.


                                 Respectfully submitted,

                                 CARMEN M. ORTIZ
                                 United States Attorney


DATE: May 5, 2010          By:   /s/ Brian T. Kelly
                                 Assistant U.S. Attorney
                                 Chief, Public Corruption Unit




                       CERTIFICATE OF SERVICE

     I, Brian T. Kelly, Assistant United States Attorney, do
hereby certify that this document was filed on the above date
through ECF system, which sends copies electronically to the
registered participants as identified on the Notice of Electronic
Filing.

     This 5th day of May, 2010.


                                 /s/ Brian T. Kelly
                                 BRIAN T. KELLY
                                 Assistant U.S. Attorney




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